                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                              )
                      Plaintiff,                        )
                                                        )
 vs.                                                    )       CASE NO. DNCW3:03CR209-10
                                                        )       (Financial Litigation Unit)
 BRYAN J. BLOUNT                                        )
                                Defendant,              )
                                                        )
 and                                                    )
                                                        )
 PACKAGING CORPORATION OF AMERICA,                      )
                     Garnishee.                         )


               DISMISSAL OF WRIT OF CONTINUING GARNISHMENT

       Upon “Motion For Dismissal Of Writ Of Continuing Garnishment” (Document No. 236)

of the United States, for the reasons stated therein and for good cause shown,

       IT IS, THEREFORE, ORDERED that the Writ of Continuing Garnishment filed in this

case against Defendant Bryan J. Blount is DISMISSED.

       SO ORDERED.



                                             Signed: September 18, 2017




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